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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                       *           MDL NO. 1873
       FORMALDEHYDE                       *
       PRODUCTS LIABILITY                 *
       LITIGATION                         *           SECTION: N(5)
                                          *
This Document Relates to:                 *
                                          *
                                          *           JUDGE: ENGELHARDT
ALL CASES                                 *
                                          *
                                          *           MAG: CHASEZ
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                                          ORDER


       Considering the foregoing Joint Motion to Substitute Counsel of Record:

       IT IS SO ORDERED that Jerry L. Saporito and Amanda W. Vonderhaar and the law firm

of Leake & Andersson, LLP be and are hereby substituted in place of Richard E. King and David

M. Moragas of the law firm Galloway, Johnson, Tompkins, Burr & Smith as counsel of record

for Defendant DC Recovery Systems, Inc.



       Signed in New Orleans, Louisiana, this _________ day of ________________, 2011.



                                                  _________________________________
                                                  UNITED STATES DISTRICT JUDGE
